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14   [additional counsel on signature page]

15                            UNITED STATES DISTRICT COURT

16         NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISO DIVISION

17 RICHARD KADREY, SARAH                         )
   SILVERMAN, CHRISTOPHER GOLDEN,                )
18 TA-NEHISI COATES, JUNOT DIAZ,                 )       Consol. Case No. 3:23-cv-03417-VC
   ANDREW SEAN GREER, DAVID HENRY                )
19 HWANG, MATTHEW KLAM, LAURA                    )       STIPULATION AND [PROPOSED]
   LIPPMAN, RACHEL LOUSIE SNYDER,                )       ORDER RE: CORRECTED SECOND
20 JACQUELINE WOODSON, and LYSA                  )       CONSOLIDATED AMENDED
   TERKEURST,                                    )       COMPLAINT
21                                               )
              Plaintiffs,                        )       Fed. R. Civ. P. 15(a)(2)
22                                               )
        vs.                                      )
23                                               )
   META PLATFORMS, INC.,                         )
24                                               )
              Defendant.                         )
25                                               )
                                                 )
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                                                     1          STIPULATION AND [PROPOSED] ORDER
                                                                              No. 23-cv-03417-VC
        Case 3:23-cv-03417-VC Document 123 Filed 09/05/24 Page 2 of 5




 1          Consolidated Plaintiffs Richard Kadrey, Sarah Silverman, Christopher Golden, Ta-Nehisi

 2 Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman,

 3 Rachel Louise Snyder, Jacqueline Woodson and Lysa TerKeurst (collectively, “Plaintiffs”) and

 4 Defendant Meta Platforms, Inc. (“Meta”) (together with Plaintiffs, the “Parties”), by and through

 5 their respective counsel of record, hereby stipulate as follows pursuant to Fed. R. Civ. P. 15(a)(2):

 6          WHEREAS, Plaintiffs filed their Second Consolidated Amended Complaint on August

 7 29, 2024 (“SCAC,” Dkt. 122 (public redacted); Dkt. 121-2 (sealed)); and

 8          WHEREAS, on September 4, 2024, the parties met and conferred via video conference to

 9 discuss certain proposed corrections to the SCAC, and were able to reach agreement;

10          NOW, THEREFORE, IT IS HEREBY STIPULATED by and among the Parties

11 pursuant to Fed. R. Civ. P. 15(a)(2), subject to the approval of the Court, that:

12          1.      Within one (1) Court day of the Court’s approval of this stipulation, Plaintiffs will

13 file a corrected SCAC in the form attached hereto as EXHIBIT A.

14          2.      The clerk will return the sealed version of the SCAC (Dkt. 121-2) to Plaintiffs, who

15 will promptly destroy it.

16          3.      Meta’s obligation to answer the original SCAC (Dkt. 107) is vacated.

17          4.      Within five (5) Court days of Plaintiffs’ filing the corrected SCAC, Meta will file

18 its answer and concurrently serve on Plaintiffs a true and correct redline showing all differences

19 between its answers to the FCAC and corrected SCAC. The answer to the corrected SCAC will

20 address new allegations in the corrected SCAC but otherwise remain substantively unchanged;

21          5.      There will be no motion practice directed to the corrected SCAC or the answer to

22 the corrected SCAC pursuant to Fed. R. Civ. P. 12(b)(6), 12(e) or 12(f);

23          6.      This stipulation and the timing of the filing of the corrected SCAC may not be used

24 by the parties to modify the existing case schedule.

25          7.      Except as specifically provided herein, the Parties reserve all rights and defenses.

26 IT IS SO STIPULATED.

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                                            3         STIPULATION AND [PROPOSED] ORDER
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13

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15 PURSUANT TO STIPULATION, IT IS SO ORDERED.

16

17

18 Dated:_____________, 2024                        ______________________________

19                                                  Hon. Vince Chhabria

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                                          4         STIPULATION AND [PROPOSED] ORDER
                                                                  No. 23-cv-03417-VC
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify under penalty of perjury that on September 5, 2024, I authorized the

 3 electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

 4 send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

 5 and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

 6 to the non-CM/ECF participants indicated on the attached Manual Notice List.

 7

 8
                                                    /s/ David A. Straite
 9                                                  David A. Straite

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                                                      5          STIPULATION AND [PROPOSED] ORDER
                                                                               No. 23-cv-03417-VC
